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             9                                LTNITED STATES DISTRICT COURT
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¡           10                            CENTRAL DISTRICT OF CALIFORNIA
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\-/ v o.l   t3   MARC I. WILLICK, an individual,                Case   No. CV 15-00652-AB (Ex)
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vo!
 O Ú.       t4                       Plaintiff,                 DECLARATION OF SALVATORE
'=o                                                             BADALA 11\ SUPPORT OF
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      .L
            15   v.                                             MOTION TO VACATE
                                                                ARBITRATION AWARD AGAINST
L
U           l6   NAPOLI BERÌ{ RIPKA &                           DEFENDANT NAPOLI BERN
o_                           LLP, a                             RIPKA & ASSOCIATES, LLP;
o           t7                                     NAPOLI       EXHIBITS
u.
                                          o        8.
            18                       LLP,     A                 lFiled concurrentlv with Motion to
                                                   NAPOLI       Vacate Arb itratioñ Awarfl
            l9                            o        LLP a
                 ouroorted limited liabiliw           lp;
            20   ÑeÞoIT BERN RIPKA;              )a
                 purported limited liabilitv partnership;       Date:         October 19,2018
            2t   ñnÞorr KAISER BERñ, LLP, a                     Time:         10:00 a.m.
                 ournorted limited liabiliw oartnershro:        Crtrm:        7B
            22   MÄnc J. BERN, an indívidual; PAÛL              Judge:        Hon. André Birotte, Jr
                 J. NAPOLI, an individual; and DOES I
                 through 50,

            24                       Defendants.

            25

            26

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            28
                                                                         Declen¡rroN oF SALVAToRE BADALA   rN   Supponr op
                                                            I
                 481 5-9695-2434.t                                               MoIoN   To VACATE ARBTTRATToN    Awnno
            Case 2:15-cv-00652-AB-E Document 138-2 Filed 09/12/18 Page 2 of 26 Page ID #:1635




                 1                          DECLARATION OF SALVATORE BADALA
                 2   I, Salvatore Badala, declare       as follows:
                 a
                 J              1.      I am an attorney with the law firm of Napoli Shkolnik PLLC in New
                 4   York, New York. I am submitting this declaration in support of the Motion to
                 5   Vacate Arbitration Award Against Defendant Napoli Bern Ripka & Associates,

                 6   LLP in connection with the above-captioned action titled Marc I. I4tittick v. l{apoli
                 7   Bern Ripka & Associates, LLP, et al., Central District of California Case No. CV
                 8   15-00652 AB (Ex). Except as otherwise indicated, I have personal knowledge                          of
                 9   the facts set forth herein and could competently testiff thereto if called to do so.
AJ
E               10             2.       Attached hereto as Exhibit    "H"   is a true and correct copy of a letter
c
o
co
,ã3c
                ll   dated December 13,2017 from Andrew J. Dressel                ofNapoli Shkolnik PLLC to
           ñ
LO              t2   Evan Shapiro of Skarzynski I Black          LLC. I understand      that Mr. Shapiro is an
- dØ
 o.qõ
\2"9            t3   attorney for Evanston Insurance Co. Note, the exhibits identified in this
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 OJ ãJ
                l4   Declaration begin with Exhibit "H" to be consecutive with the other exhibits
'=o
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t\J n-
                15   submitted in support of the Motion to Vacate the Arbitration Award.
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L
AJ
                t6             3.       Attached hereto as Exhibit    "I" is a true and correct      copy of a letter
t   -.1-
o               t7   dated January 31,2018 that        I   sent to Evan Shapiro of Skarzynski I Black            LLC.
u.
                18             4.       Attached hereto as Exhibit "J" is a true and correct copy of a letter
                19   dated January 31,2018 that Evan Shapiro of Skarzynski I Black LLC sent to

                20   Andrew Dressel of Napoli Shkolnik PLLC with a copy to me and others.
                2l             I declare under penalty of perjury under the laws of the lJnited States that the
                22   foregoing is true and correct.
                23             Executed this 11th day of September,2}lS at New York, New York.

                24

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                                                                       a         DECLARATTON op   S¡Lverong BADALA ru Supponrop
                     4815-9695-2434.1                                                    MoTIoN To VACATE ARBITRATION AWARD
       Case 2:15-cv-00652-AB-E Document 138-2 Filed 09/12/18 Page 3 of 26 Page ID #:1636




             I
             2                                      INDEX OF EXHIBITS
             a
             J                Exhibit Description                                                 Pages

             4                      H   Letter dated December 13,2017 from Andrew J.              04-07
                                        Dressel to Evan Shapiro.
             5
                                    I   Letter dated January 31,2018 from Salvatore               08-17
             6                          Badala to Evan Shapiro.

             7                      J   Letter dated January 31,2018 from Evan Shapiro            t8-26
                                        to Andrew Dressel.
             8

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                                                                      DECLARATToN   or Selvarone BADALA        Supponror
                 4815-9695-2434.1
                                                             -3   -                                       IN
                                                                              MoTIoN To VACATE ARBITRATION AWARD
Case 2:15-cv-00652-AB-E Document 138-2 Filed 09/12/18 Page 4 of 26 Page ID #:1637




                               EXHIBIT H




                                                                       Page 4
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                                                       NAPOLI
                                                       SHKOLNIK PLLC
                                                       ATTORNEYS AT LAW



                                                                   December 13,2017

    VIA EMAIL

    Evan Shapiro, Esq.
    Skarzynski Black LLC
    One Battery ParkPlaza,32nd Floor
    New Yotk, New Yotk 10004
    eshaoi¡o@ skarz]rn ski. com

             Re:     V/i//ìck   u.   Napoli Bern, et a/.,LA County Case   # 8C566742
                     Insured: Napoli Bem Ripka Shkolnik PLLC
                     Claimant Marc L Willick, Esq.
                     Policy: Employment Practices and Thi¡d Paty Discrimination Liability
    Dear Evan:

        I write in response to your letter dated November 27,201,7 regarding Evanston's decision to
    decline to pay the costs associated with the accounting ordered by the Arbitrator in the "Tentative
    Ruling." Respectfully, I disagtee with Evanston's position for a vanety reason set out in this letter.

        ,\s you       ã'wzrre this case ended up in fedetal court because insurance counsel decided to
                 ^te
    remove on behalf of all entities, even though the California court did not have personal jurisdiction
    over all entities. Insurance counsel then decided to move to bring all the parties into arbitration,
    even though not all the parties were signatories to the arbitration provision. Both of these were
    mistakes. Finally, because of avanety of objections by Marc Bern, separate counsel was appointed
    for the pârtners and the Ftm.

        Since the outset of these appointments there has been little to no coordination by the carrier
    with counsel. Counsel has acted in a mannet I have not experienced on any case. For example, the
    Itrm counsel has refused to communicate with Mr. Napoli on preparing a defense or understanding
    the facts involved in the case. Further, counsel stipulated to a non-AÂA               contrary to the
                                                                              ^rbitlz.tor,
    terms of the employment agreement with Willick. Then, counsel stipulated to an "accounting"
    before obtaining Mr. Napoli's consent. Later, vzhen Mr. Napoli pointed out that such a move \r/as
    unwârranted it was "too late" to avoid the accounting without receiving the wrath of the arbitrator.
    Lastly, the [tm's counsel has now refused to follow Mr. Napoli's riitsçti6n in litigating the m¿tter
    and challenging the arbitrator's decision to moving to a non-A-AA approved accounting Frm.

        This last move by counsel along vrith the othet points set out as examples has made it clear that
    counsel recommended and retained by the cãrrrt.t have the carrrer's interests in mind, not their
    clients. Sæ, eg., Jønopaul dy Bloc,k Co¡., I .t C u. Søþerior C0uft,200 Cal. App. 4th 1,239, 1251. (201.1)
    (finding questions over whether insurance counsel had diligently represented insured to raise
    questions surrounding bad faith of insurance company and remânding to üial court for
    determination on bad faith issue); L.ong u. Century Indem. Co., 163 CaL.A.pp. 4th 1.460, 1.470 (2008)
    (noting that counsel has duty to the insured, not the insurer, where the two patties' interests
    conflict). Because of the inextricable conflicts between caffter and client the matter has digressed to
    this point.

                                                      ,.,o0,-,r'Jn*,,ut
                       360 LEXTNGTON AVENUE, r1',tH FLOOR. NEw YORK, NEW YORK 10017 (212) 397-t000

                                                        EXHIBIT     H                                    Page 5
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                                                   NAPOLI
                                                   SHKOLNIK             PLLC
                                                    ATÏÕRNEYS AT LAW




        Your letter has several inaccuracies. Fir¡t, rhis is a "tentative" ruling. I believe it would be better
    for Evanston to wait until the text of the actual order befote making a coverage decision. As I make
    clear below, the actual wording of the order makes a. great deal of difference in whether the cost of
    accounting falls within the definition of "Claim Expenses" undet the policy.

        Second,I disagree with your characterizaion     of the Tentatjve Ruling and how we got to that
    Ruling. Mr. Napoli stipulated to the accounting on the advice of insurance counsel. It would now be
    unfair for the insurance company to turn around and say that it is not covering the accounting claim
    that insurance counsel talked Mr. Napoli into agreeing to. At the every leâst it suggests ân unethicâl
    conflict of interest regarding insurance counsel. Perhaps insurance counsel was seeking to reduce
    litigation costs in endorsing âgreement to the accounting, but "[w]hen counsel is assþed to defend
    an insuted, 'the paramount interest independent counsel represents is that of the insured, not the
    insurer."' Fed. Int. Co. u. N. Am. Speciølt1 Inr C0.,47 A.D.3d 52,59 (l.st Dep't 2007) (quoting Felibertl
    u. Dømon,72 N.Y.2d 112,120 (1988)).


         Third, it is only insutance counsel's incompetence, bordering on malpractice, which led to the
    Arbitrator assigning the accounting costs to the insured. Messrs. Bern and Napoli have been
    cooperative in this process, rurning over tens of thousands of pages of documents to insutance
    counsel, who then failed to produce those documents in discovery. When the arbitrator cites to
    deficiencies in the production, it is insurance counsel's failure to turn over these documents that the
    aú¡itrator is citing to. The insured should not be made to bear the cost of insurance counsel's failure.

         Foarth, Evanston's reading of the both the Tentative Ruling and the Policy is flat out wrong. The
    accounting does not atise solely out of the breach of contract claims. Thete are four claims, besides
    the accounting claim, in the Complaint. Those include a claim for violation of Cal. Bus. & Prof.
    Code $ 17200, which seeks to recover for wrongful employment practices. The proposed accounting
    is as much related to that statutory claim as it is any other claim. ,\nd, of course, that statutory claim
    for unpaid wages telates to a Wrongful Employment Ptactice, as that tetm is dehned in the Policy (a
    'liolation of zny other employment-related law, rule or regulation, including without limitation any
    civil rights or fak employment ptactices law').

         Fiftlt, the statement that "the award of costs is due to Willick's causes of action for an accounting
    a¡d for bteach of conttact" is wrong fot the same reasons. The award of costs is due to attoîney
                             'tn
    misconduct and due,          part, to the claimed violation of Cal. Bus. & Prof. Code $ 17200. The
    Tentative Ruling does not say that costs are being awarded just for the breach of contract claim. In
    fact, it spells out that discovery failures, which were the result of insurance counsel's failures, are one
    of the main reasons the insured is being asked to bear the costs of the accounting.

        Sixflt, ¡Ji'e cost of the accounting is clearþ a Clakn Expense, as that term is defined in the policy.
    The claim under the Cal. Bus. & Prof. Code $ 17200 ts a coveted claim, and the accounting relates to
    that claim. Moreover, it is simply untrue that accounting costs are "amourrts [insuted] ate tequited to
    pây on âccourit of, and pursuânt to, their conftactual obligations[.]" Nothing in the conttact stâtes
    that insureds are required to pay for an accounting. The insured is only required to pay for an
    accounting because Willick brought claims against the insured, including statutory employment
    practices claims, and because the arbitator ordered the insured to do so, largely due to the
    incompetence of insutance counsel. A Clâim Expense is a "teasonable ¿nd necessary fee . . .

                                                   ,uoo,rr',?o*.,rt
                       360 LEXINGTON AVENUE, I lTH FLOOR. NEW YORK, NEW YORK 10Ot7 (2t2) 397-1000

                                                     EXHIBIT      H                                      Page 6
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                                       t              NAPOLI
                                                      SHKOLNIK PLLC
                                                      ATTORNEYS AT LAW



    incurred . . . in the defense or appeal of that portion of. any Claim for which coverage is afforded
    under this policy . . . ." Nothing could be more necessary than paying a cost ordeted by the
    arbitrator, and covered claims arc clearly being pursued in this action; that is after all, why insurance
    counsel has been part   ofthis process.

         I hope that having read this lettet, and considering the contractuallangaage, case law, and facts
    outlined hetein, you and Evanston will teevaluate your position, provide a complete defense to all
    claims, andpay for all Claim Expenses, including the accounting.


                                                                  Regards,


                                                                  /t   Andrew J. Dre¡sel




                                                             J
                                                      NAPOT-ILAW.COM
                       360 LEXTNCTON AVENUE,   llTH   FLOOR, NEWYORK, NEW YORK   t00t7   (212) 397-1000

                                                        EXHIBIT H                                         PageT
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                                                      NAPOLI
                                                      SHKOLNIK PLLC
                                                      ATTORNEYS AT LAW



                                                                  January 31,2018

    VIA EMAIL

    Evan Shapito, Esq.
    Skazynski Black LLC
    One Battery ParkPlaza,32nd Floor
    New York, New York 10004
    eshapìro@skarz]'nski. com

            Re:     V/illick   u.                         # 8C566742
                                    Napoli Berv, et a/.,1-A County Case
                   Insured: Napoli Bern Ripka Shkolnik PLLC
                   Claimant Marc L Willick, Esq.
                   Policy: Employment Practices and Third Party Discrimination Liability
    Deat Evan:

       I write in furtherance of Andrev¡ Dressel's December 1.3,2017 letter to you regarding
    Evanston's decision to decline to pay the costs associated with the accounling ordeted by the
    Arbitrator in the "Tentative Ruling."

        OnJanuary 27,201.8,Judge Stone entered an Order stating that "the Accounting was granted
    in pat in rcsponse to Claimanfs contention that the Fitm uiolated an employment-telated
    Iaw, tule or rcgalation " (Interìm Award Re Accounting p. 6, attached as Exhibit 1.) (emphasis
    added). Therefore, the cost of the Accounting is clearþ a Clakn Expense, as that term is defined in
    the above-referenced policy.

       In light of theJanuary 27 Order, I demand that Evanston pay Ernst & Young for all associated
    Accounting costs immediately.

        Your response is needed before Tuesday, February 6 as we are required to report Evanston's
    response toJudge Stone on that date.



                                                                 Regards,
                                                                  f ¡ Saluatore C. Badalø




                                                     NAPOI-ILAW,COM
                       360 LEXINGTON AVENUE, I 1TH FLOOR, NEW YORK, NEW YORK 10017 (212) 397-1000

                                                        EXHIBIT     I                               Page 9
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                                Exhibrt I




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                    I   JAMES COLDMAN (State BarNo. 57127)
                        j   goldman@millerbarondess.com
                    2   KELLY E. HALFORD (State Bar No. 312251)
                        khalford@millerbarondess. com
                    3   MILLER BARONDESS, LLP
                        1999 Avenue of the Stars, Suite 1000
                    4   Los Angeles, California 90067
                        Telephone: (310)552-4400
                    5   Facsimile:      (310)552-8400

                    6   Aftomeys for Plaintiff
                        MARC I. WILLICK
                    7

                    8                    ALTERNATIVE DISPUTE RESOLUTION SERVICES, INC.
                    9

                   10

                   lt   MARC I. WLLICK, an individual,                                  ADRS CASE NO. 15-6722-RAS
                                                                                        Hon. Richard A. Stone
          3
          to       t2                   Plaintif{
 À :"                                                                                   INTERIM AWARD RE ACCOUNTING
 J US              t3
 q
 qz,;=zã           14 NAPOLI BERN RIPKA & ASSOCIATES,
 ôlq:                 LLP, a purported limited liability partnership;
 z -- á
                   15 NAPOLI BERN RIPKA SHKOLNIK &
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i:i+                  ASSOCIATES, LLP, a purported limited
E?å:.
 d< ia             16 liability partnership; NAPOLI BERN RIPKA
          6;
                      SHKOLNIK, LLP, a purported limited
¿
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          þ.;      t7 liability partnership; NAPOLI BERNI RIPKA,
¿                     LLP, a purported limited liability partnership;
          z        l8 NAPOLI KAISER BERN, LLP, apurported
                      limited liability partnership; MARC J. BERN,
                   19 an individual; PAUL J. NAPOLI, an
                      individual; and DOES I through 50,
                   20
                                        Defendants.
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                                                               EXHIBIT              I                               Page   11
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                                                                       Interim Award
                    2              This Interim Award pertains to Plaintiff Marc Willick's ("Willick") First Cause of Action

                    J    for an Accounting against Respondent Napoli Bern Ripka & Associates LLP. The Arbitrator             is

                    4    not, ât this tirne, deciding whether Claimant is entitled to an accounting or other relief from any or

                    5    ali Respondents other than Napoli Bern Ripka & Associates, LLP. All issues not expressly

                    6    decided in this Interim Award are reserved. The scope of the Accounting is outlined in section            II
                    7    of this Interim Ruling.

                    I    I.        PLAINTIFF/CLAIMANT IS ENTITLED TO AN ACCOUNTING
                    9              As a result of hearings in this matter on October 5 and 6, and November 5 and | 1 , 2017    ,


                   10   and the Arbitralor's consideration of the evidence and briefs submitted by the parties and

                   11   argument of counsel, and counsels' representations at the hearing on November 11,2017 that they

          a
          z        t2   had no additional evidence or argument for the Arbitrator to consider, the Arbitrator rules in
          a
  è       ?a
                   13   Willick's favor on Willick's first     eause of action and decides that he is entitled to an accounting.

  41.;:            14   The issues ofthe scope ofthe accounting, which party should bear the costs ofthe accounting, and
               5

 Y ae ^            l5   who should conduct the accounting are addressed below. The accounting shall include, but not
 <ái?
 co:ã1
                   16   necessarily be limited to, the following information for each case referred by Willick's Referral
 H        3ã
 J        6=
          i;       l7   Sources, which sources are listed in Schedule C to the May 2011 employment agreement:
 ¿        ä"
          z        18              1.     Case name (all plaintiffs and all defendants)

                   l9              2.     Case number

                   20              3.     Date of filing

                   2l              4.     Court in which case was filed

                   22              5.     Type of case (asbestos, mesothelioma, wrongful death, etc.)

                   23              6.     Names of dismissed defendants      (if dismissed other than pursuant to settlement) and
                   24                     date of dismissal

                   25              7.     Identity of any Ref-erral Source

                   26              8.     For each settlement:

                   27                     a.     Name of settling defendant

                   28                     b.     Date of settlement

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                                                                           2
                                                              INTERIM AWARD RE ACCOLTNTING

                                                                 EXHIBIT     I                                       Page 12
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                    I                      c.      Settlement amount

                2                          d.      Date of receipt of settlement amount

                3                          e.      Gross fees

                4                          f.      Amount paid to client

                5                          g.      Amount paid to any referral source

                6                  9.      For each judgment against a defendant

                7                          a.     Name of defendant against whom judgment entered

                I                          b.     Date on which judgment entered

                9                          c.     Amount ofjudgment

               l0                          d.     Date on which judgment was paid

               l1                          e.     Gross fees
        j
        z
        o
               12                          f.     Amount paid to client
  È     =_     t3                          g.
  J                                               Amount paid to any referral source
  J
 ,;
    :å
 B a    i?     14                  10-     Identify and quantify all costs incurred to date, including referral fees (include
        Ji
 z      o¡

 &
               l5 name of recipient), but not including overhead, administrative expenses, rent, employee
 çô 9   ;&     t6 compensation, or other indirect costs.
 g      26
 !      ,'-=
 J
 :             t7       II.        SCOPE OF THtr ACCOUNTING
        o
        z      l8                  The accounting must identifl all cases refened by Willick or Willick's Refenal Sources to

               t9 Defendant Napoli Bem Ripka & Associates, LLP or any law firm with which Paul Napoli or Marc
               20       Bern have been affiliated, and quantify the fees received on such cases. The accounting must also

               2l       identify all    cases for which   Willick performed work as local counsel between March 7,2}ll and
               1a       May 20, 201 l, along with all Assigned Cases that Willick worked on while employed by the Firm,

               ZJ       and include the information identified in Section I.

               24       III.       CONSTRUCTION OF THE SUBJECT CONTRACTS

               25                  The Arbitrator construes the March 7,2011 Co-Counsel Agreement for California Personal

               26       Injury Claims (the "March Contract") and the May 20,2011 Employment Agreement (the "Mây

               27       Contract") as follows:

               28

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                                                              INTERIM AWARD RE ACCOI INTINTì

                                                                  EXHIBIT    I                                       Page 13
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                    I           A.      The March Contract

                2               Pursuant to the terms of the March Contract, Willick is entitled to 10% of the fees received

                3       for cases covered by the March Contract, i.e., cases lor which Willick acted as local counsei for

                4       Defendants on asbestos related claims. The Accounting             will include a determination of   the

                5       outstanding fee obligations owed to Willick, and thus it must include any fees received on

                6       asbestos related cases in which    Willick acted   as local counsel from March        7,20ll   through May

                7       20,20t1
                I               B.      The May Contract

                9                       l.     Attornev Cases that Resolved Durins Willick's Tenure

               i0               Willick is entitled to compensation for all Attorney Casesl that resolved during his tenure

        5
               l1       on the sliding scale outlined in Section 2.a(i)(a)-(c) of the May Contract. The accounting must

        2      t2 encompass all Attorney           cases accepted after l|./:ay 20,201     I   and resolved during Willick's
        ô
 q      a=?
               13       employment.
        5å
 Ø
 q      ti9i   l4                       2.     Attorney Cases that Resolved After Willick's Tenure
 z¡-3
 HJJ

               15               Section 2.4 provides that Willick is entitled to compensation for cases accepted from him
 Yì?-
 =z_á

 d,<ia         1ó       or his Refenal Sources. Through the operation of Sections 3.1 and 3.5 of the May Contract, this
 4
 J
     Eã ü:

        É¡     t7       right to compensation survives the termination of the May Contract.
 ¿      ö-
        z      l8              Therefore, the Accounting must encompass all of the cases referred during the term of the
        I      19       May Contract by him or his Referrai Sources, but resolved after the termination of the May

               20       Contract.

               21                      3.      Cases Referred by      Willick's Referral Sources After the Termination of
               22                              the Mav Contract

               ¿)              Section 2.4(ii) survives the termination of the May Contract through the operation              of
               24       Sections 3.1 and 3.5. Section 2.4(ti) specifically provides that the parties' referral sources during

               25       the term of the Contract   will renlain o'their own and shall be maintained as their own by the
               26       respective parties in the event the parties decide to terminate this agreement for any reason." Aiso,

               27
                        I Aftorney cases
               28                        are those accepted by Defendants from V/illick or his Referral Sources (as
                        defined in Schedule C to the May Contract).
                        366770.1
                                                                                 ^
                                                           IN'|ERIM AWARD            RE ACCOTJNTINC

                                                                EXHIBIT      I                                            Page 14
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                 I    it provides that damages for the breach of that provision shall be measured in accordance with the
                 1   formula set forth in Section 3.5.

                 J              Thus, the Accounting must encompass all cases accepted from Willick's Referral Sources

                 4   afler the termination of the May Contract, and damages         will   be determined according to the

                 5   provisions of Section 3.5(i)-(iv).

                 6                        4.      Assigned Cases

                 7              Willick   is entitled to a percentage of fees received on any Assigned Cases   -   i.e., cases

                 8   assigned to    Willick for purposes of handling out of Defendant Napoli Bern Ripka & Associates,
                 9   LLP's Los Angeles Office         -   while the May Contract was in effect pursuant to Section 2.6 and

                l0   Schedule     A to the extent such fees exceeded his monthly draw of $15,000.00 under Section 2.3.
                11   Willick is not entitled to any additional bonus under Section 2.6, as that appears to be
        3
        z       t2 discretionary.
        o
 È :"
 J Ui           13              Therefore, the Accounting must encompass all Assigned cases that resolved during the

                t4 time the May Contract was in effect and determine the fees to which Willick is entitled based on
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 2ts        2
                t5   Section 2.6.
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                16   IV.        COSTS OF THE ACCOUNTING

                t7              The costs of the accounting are to be borne entirely by Defendant Napoli Bern Ripka           &
 ¿      ö-
        z       18   Associates, LLP because Willick is a prevailingparty and the equities are such that Willick should

                l9 not    bear this burden, as explained below. This ruling is without prejudice to a possible ruling that

                20   other Defendants      will   be responsible for the costs of the accounting if Napoli Bern Ripka     &
                2l   Associates, LLP does not pay for the costs.

                22              Willick is a prevailing party on the First Cause of Action for an Accounting because an
                23   accounting was granted. The accounting was granted, in part, because it is clear, based on the

                24   evidence submitted by Mary Keyes, one of Willick's referral sources, that Willick may be entitled

                25   to subslantial compensation.

                26              Additionally, the equities weigh against placing this burden on Willick. First, Defendant

                27   Napoli Bern Ripka & Associates, LLP breached its obligations under the May Contract to pay

                28   Willick for    cases on which he      worked. Second, Defendant Napoli Bern Ripka & Associates, LLP

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                                                             INTERIM AWARD RF ACCOI INTIN(ì
                                                                  EXHIBIT    I                                        Page 15
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                          breached its obligation under the May Contract to pay Willick the portion of fees they received on

                     2    cases accepted from his Referral Sources. Third, Defendant Napoli Bern Ripka       & Associates,
                     3   LLP have never provided Willick with an accounting even though it promised him that it would

                     4   do so. Fourth, Defendant Napoii Bern Ripka       & Assocíates, LLP breached its discovery
                     5   obligations and prevented Willick from obtaining the documents and information necessary to

                     6   perform an accounting on his own. Fifth, Defendant Napoli Bem Ripka & Associates, LLP failed

                     7   to   fulfìl its promises during discovery to Willick's detriment. And sixth, material information
                     I   provided during discovery relating to cases referred by Willick's referral sources proved to be

                  9      false. Finally, the Accounting was granted in part in response to Claimant's contention that the

                10       Firm violated an employment-related law, rule or regulation.

                1t                  For these reasons, the costs of the Accounting shall be solely borne by Defendant Napoli
          I
          2     t2       Bern Ripka & Associates, LLP without prejudice
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                TJ       V.         THE ACCOUNTANT
 à
 q z      <3    14                  The Arbitrator appoints Bjorn L. Malmlund of Ernst & Young LLP (the "Accountant") to
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 &
          9     l5 conduct the accounting. Compensation shall             be at the rates provided in the Rate Card submitted
      z
      c
 ¿              16       by Defendant Napoli's counsel via e-mail on October 20,2017. If Mr. Malmlund is unable or
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          :)    t7 unwilling to serve           as the Accountant, the Accountant shall be David Nolte of Fulcrum Financial.
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                18       VI.        DEFENDANTS ARE ORDERED TO COOPERATE WITH THE ACCOUNTANT

                19                  The Arbitrator hereby orders Napoli Bern Ripka & Associates, LLP and the individual

                20       Defendants Mr. Napoii and Mr. Bern (hereinafter Defendants), to cooperate with the Accountant.

                2.t      Cooperation includes, but is not necessarily limited to the following:

                22                         a.      Defendants shall make themselves reasonably available to answer any

                ¿J       questions that the Accountant may have, and promptly provide the answers to such questions;         if
                24       Defendants do not readily have answers to any such questions, they shall make a reasonable ef'fort

                25       to obtain the information necessary to provide the answers;

                26                         b.      Defendants shall promptly provide the Accountant with access to books and

                27       records, accounting information, or any other documentation that the Accountant may request

                28       pursuant to the scope of this Interim Award to the extent that the documentation is within

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                                                             INTERIM AWARD RE ACCOL'NT]NG

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                 1   Defendants' custody or control;

                 2                     c.        Defendants Napoli and Bern shall direct the employees at any law firm to

                 )   which they are affiliated, including, but not limited to, their respective law firms to cooperate with

                 4   the Accountant;

                 5                     d.        To the extent that documents or inlbrmation requested by the Accountant is

                 6   within the custody or control of       a third party, Defendants shall promptly provide authorization to

                 7   such third pafty to release the documents or information to the Accountant.

                 8   VII.       OTHER MATTBRS
                 9              Except insofar   as   the Accountant's costs and fees are concerned (which are addressed

                l0 above), the Court reserves jurisdiction to identify         a particular party or parties as the prevailing

                t1   pafty or parties, and to award costs of suit, ìncluding the Arbitrator's fees, to such party or parties.

                12              There will be a hearing in this matter on January     21   ,2018   at 9:00 a.m. at which time, the
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           1.   t3   following issues will    be addressed: (a) any outstanding discovery issues that the parties have been
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  ";
  u        <=   l4 unable to resolve      as a result   ofa "meet and confer" process; (b) any needs that the Accountant
  U
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  o             l5 rnay have and any other issues relating to the Accounting; and (c) a schedule for resolving the
       z
           ar
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                t6   remaining claims in this matter.
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  :             l7
           o         TT IS SO ORDERED.
           z    18
                     DATED: Januarv 27^2018
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                2l                                                       THE HONORABLE zuCFIARD A. STONE (Ret.),
                                                                         Arbitrator
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                                                            INTERIM AWARD RE ACCOUNTING

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                                                                                              Skarzynski Black LLC
Skarzynski lBlack                                                             One Battery ParkPlaza,32nd Floor
                                                                                    New York, New York '10004
                                                                               P 212.820.7700 | F 212.820.7740
                                                                                                 skarzynski.com

                                                                                                  Evan Shapiro
                                                                                           Direct Line: n2.820.n12
                                                                                          eshapiro@skarzynski.com


                                                     ]anuary 31,2018

    Via E-Mail
    Andrew Dressef Esq.
    Napoli Shkolnik PLLC
    360 Lexington Avenue, LLth Floor
    New York, NY 100L7
    ADressel@napolilaw.com

        Re:        Willicka. Nøpoli Bern, et ø1.
                   Insurer:          Evanston Insurance Co.
                   Policy:           ML813748, For Profit Management Liability Policy -
                                     Employment Practices and Third Party Discrimination
                                        Liability
                   Policy Period: June 1-, 20'J,4to June 1,20L5
                   Markel File: ML273951,
                   Our File:      20727

    Dear Andrew:

           This letter is in response to your letter dated December L3,2017, which in turn is a
    response to our letter dated November 27, 2017 , regarding Evanston's conclusion that
    coverage is not available under the above-referenced Policy for the costs of the accounting
    as now ordered pursuant to the Interim Award re Accounting dated January 27,2018 (the
    "Accounting Award") by the Arbitrator in the above-referenced action.l We are also in
    receipt of and by this letter respond to, the letter from Sal Badala dated January 3'1,,2018.
    After full consideration of your arguments and currentþ available information, including
    developments in the arbitration leading to the Accounting Award, Evanston must reaffirm



    This letter is subject to, and incorporates by reference, all prior correspondence by this firm and any other
    1

   representative of Evanston regarding coverage for this matter. Capitalized terms not defined herein have the
   meaning ascribed to them in our November 27 Letter. Our,failure to specifically address herein any
   coverage term, condition, limitation or exclusion that has previously been noted, is not intended to be, and
   shall not be deemed to be, a waiver of such matter. Similarly, Evanston's defense and investigation of this
   matter is ongoing and Evanston continues to reserve the right to raise additional coverage defenses that may
   appear relevant as the matter develops and further information is received.



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                                                                         Andrew Dressel, Esq.
                                                                     Markel File No. ML273951.
                                                                               fanuary 3'1,,2018
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  its conclusion that there is no coverage under the Policy for the costs to be incurred in
  connection with the accounting.

         As an initial matter, with respect to your repeated accusations of misconduct by
  defense counsel, we do not believe that the record supports your summary of the events.
  Rather, for example, we understand that at least Paul Napoli was directly involved in the
  decision to remove the suit to federal court and to compel arbitration on behalf of all
  Defendants. Indeed, the Order granting the motion to compel arbitration notes that
  Willick opposed the referral on the grounds that not all law firms were parties to the
  contracts with the arbitration provision, but the Court concluded that the law permitted all
  defendants to participate in the arbitration. You also make several inherently
  contradictory assertions. For example, you state that defense counsel stipulated to an
  accounting without Mr. Napolls consent and also that Mr. Napoli agreed to the
  accounting on advice of counsel. As another example, at one point you assert that there
  has not been coordination by the carrier with counsel, while at another point you suggest
  that counsel is acting to protect only the carrier's interest rather than the interests of the
  Insureds, their client. We also understand that defense counsel worked diligentþ to
  comply with discovery.

         Additionally, while we do not think it is necessary $ appropriate to undertake an
  in-depth review of the events at this time, we note that, despite repeated requests by us,
  you have not provided any evidence to support your assertion that Paul Napoli or anyone
  on his behalf sent repeated emails to Yee & Belilove that were never answered. You also
  ignore the fact that Mr. Napoli had his own separate defense counsel, Todd Croutch of
  Fraser Watson Croutcþ who we understand was in regular communication with Mr.
  Napoli, was responsive to Mr. Napoli's requests, and communicated with Yee & Belilove
  on Mr. Napoli's behalf. Further, your accusations of misconduct by counsel are a matter to
  be addressed directly with counsel rather than with Evanston. Regardless, at Mr. Napoli's
  request Evanston has agreed to replace Yee & Belilove with counsel agreed to by Mr.
  Napoli and Mr. Bern on behalf of the Firms. We understand that the new counsel is
  conferring with Mr. Napoli and Mr. Bern with respect to strategy going forward.

         The following responds to your additional arguments in the order presented in
  your letter as well as the conclusory assertion in Mr. Badala's letter.

         First, you asked that Evanston wait for the issuance of the " acttral" order rather
  than the "tentative" rulings by the Arbitrator. Evanston has done so, and has now
  considered the "actual" order, as signed by the Arbitrator on January 27,2018, after
  revisions requested by Mr. Napoli. \¡Vhile the Accounting Award is worded somewhat
  differently than the tentative rulings addressed in our prior letter, Evanston has again


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                                                                            Andrew Dressel, Esq.
                                                                        Markel File No. ML273951,
                                                                                   January 31,,2018
                                                                                              Page 3

  determined that there is no coverage under the Policy for the costs of the accounting as
  discussed below.

          Your arguments numbered "second", "rhird", and"hft}rr" include a number of
  assertions that boil down to allegations of errors or other misconduct by the independent
  lawyers retained as defense counsel pursuant to the Policy. While we agree with the
  general legal point in your letter that lawyers retained as defense counsel for an Insured
  are obligated to represent the interests of the Insured, as supported by the cases you cite in
  your letter, as noted above, we do not have any basis to conclude that the defense
  attorneys here are not working diligently to represent the lnsureds' interests. In any event
  "insurance companies are not liable for the potential missteps of retained counsel."
  Ghiglione a . Discouer Prop . €t Cas. Co ., 2007 WL 963250, at *4 (N.D. Cal. Mar. 29, 2007) (citing
  Merrittu. Reserae Ins. Co.,34Cal. App. 3d 858,880-81 (1973)). Indeed, "the carrier may rely
  upon trial counsel to conduct the litigation, and the carrier does not become liable for trial
  counsel's legal malpractice." Køuffmønu. Cøliforniø Støte Auto. Ass'n Interinsurønce Bureøu,
  2009WL 4049153, at *6 (Cal. Ct. App. Nov. 24, 2009) (quotation omitted). See also Tokio
  Mørine øndFire Ins. Co., Ltd.a. Grodin,2006V,{L3054321, at *5 (S.D.N.Y. Oct. 27,2006)
  ("[u]nder New York law, insurers are not vicariously liable for the malpractice of attorneys
  they retain to defend their insureds when the lavqiers are independent contractors."); Elm
  Ins. Co. a. GEICO Direct,23 A.D.3d 219,220 (1st Dep't 2005) (insurer not answerable for
  acts of appointed defense counsel). None of the case cited in your December 13 Letter are
  contrary and they are othenn'ise factually inapposite. Therefore, even if mistakes were
  made by the Insureds' defense counsef which Evanston does not have any reason to
  believe is the case, this would be a matter between the Insureds and the involved
  attorneys; Evanston has no liability for such mistakes.

          Your "fourth" and "(ifth" arguments are different ways of saying that Evanston
  misread the tentative ruling regarding the accounting and the scope of the EPL coverage
  under the Policy because the accounting does not arise solely out of the cause of action for
  breach of contract. Rather, you argue, the accounting is somehow "related to" the cause of
  action for violation of Cal. Bus. & Prof. Code S 17200, which you assert is a "statutory
  claim for unpaid wages" that "relates to a Wrongful Employment Practice, as that term is
  defined in the Policy" insofar as it includes a "violation of any other employment-related
  law, rule or regulation...." This argument is not supported by Mr. Willick's Complaint
  insofar as the cause of action for an accounting in Willick's Complaint is not based upon
  and does not mention any violation of S 17200. It also is not supported by the
  circumstances of the Accounting Award itself, including the motion practice leading up to
  it, and, in any event, this does not change Evanston's conclusions regarding lack of
  coverage for the cost of the accounting for the following reasons.



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                                                                                   Andrew Dressel, Esq.
                                                                               Markel File No. ML273951
                                                                                         ]anuary 3'1,2018
                                                                                                       Page 4

         As relevant to your argument we note that like the tentative rulings previously
  considered by Evanstoru the now "final" signed Accounting Award specifies that:

          a   It is entered    award in Willick's favor on his first cause of action for an
                              as an
              accounting and he is therefore a "prevailing party" on this first cause of action
              1pp.2,5);

          a   The purpose of the accounting is to determine compensation owed to Willick
              based on fee sharing agreements concerning fees earned on certain cases
              pursuant to the terms of the "lll4ay Contract" and the "March Contract" as
              outlined in the Accounting Award 1pp.3-5);

          a   The costs of the accounting are to be borne entirely by NBR&A because Willick
              is a prevailing party on his cause of action for an accounting and because the
              equities weigh against placing the cost of the accounting on Willick. The
              equitable factors listed in the Accounting Award include that NBR&A breached
              contractual obligations to pay Willick pursuant to the May Contract2; that
              NBR&A has not provided Willick with an accounting although it promised him
              that it would do so; and that there were problems with NBR&A's conduct in
              discovery (pp.5-6).

  The Accounting Award also now includes the following new sentence (p. 6)'

              Finally, the Accounting was granted in part in response to Claimant's
              contention that the Firm violated an employment-related law, rule or
              regulation.

          With respect to this conclusory sentence, we note that we understand that it is the
  result of Mr. Napoli's request. Specifically, we have been advised that, during a hearing
  on December 1.6, 2017 , lllf.r. Napolls defense counsel (Todd Croutch), at Mr. Napoli's
  instruction, requested that the Arbitrator include in the award a statement that "[t]he
  accounting was granted in response to plaintiffs allegation that the firm violated an
  employment-related law, rule or regulation." The Arbitrator then issued a signed award
  on January 11,2018, which did not include the requested statement. Mr. Croutch
  reiterated the request in an email to the Arbitrator dated January 15,20L8 and a further
  hearing was held on January 27, 2018. After the January 27 hearing, the Arbitrator revised

  2 In discussing the equities, the Accounting Award specifically finds that NBR&A breached payment
  obligations under the May Conkact. Nonetheless, in a separate section, the Accounting Award states that
  the accounting will also "include a determination of the outstanding fee obligations owed to Willick" under
  the March Contract. C-ompøre p.3 zuith p. 5. Thus, it appears that the Accounting Award requires that the
  accounting address amounts owed by NBR&A under both the March Contract and the May Contract.


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                                                                                      Andrew Dressel, Esq.
                                                                                  Markel File No. ML27395'1,
                                                                                               January 31,,2018
                                                                                                           Page 5

  his previously signed award and issued the January 27 Accounting Award including the
  sentence quoted above, a modified version of the sentence requested by Mr. Napoli. Other
  than this, we have not received any information, such as transcripts of the December'L6,
  2017 or January 27,2018 hearings, regarding the reason for and decision to include the
  wording in the Accounting Award.

         Other than the sentence added pursuant to Mr. Napoli's request the Accounting
  Award (like the tentative rulings) makes no express mention whatsoever of S 17200 or of
  Willick's cause of action under that statute. Despite this sentence, there is no suggestion
  that the Accounting Award is the result of a finding that NBR&A or any other defendant
  committed any acts that constitute a violation of S 17200. Rather, the Accounting Award is
  solely and expressly an award to Willick as a prevailing party on his cause of action for an
  accounting. To the extent that the Accounting Award includes a finding that NBR&A has
  breached its obligations to account for and pay amounts owed to Willick pursuant to the
  March and May Contracts, the accounting is part and parcel of NBR&A's obligations
  under the Subject Contracts and the cost of performing the accounting and paying
  amounts due pursuant to the Subject Contracts is not Loss the Insured is "legally obligated
  to pay on accountof' a Claim. See, e.g., HealthNet Inc. a. RLI Ins. Co.,206 Cal. App. 4th232,
  252-54 (2012) (concluding that "[p]erformance of a contractual obligation ... is a debt the
  [insured] voluntarily accepted. It is not a loss resulting from a wrongful act within the
  meaning of the policy." (citations omitted)). See ølso EPL Coverage ParÇ Exclusions III.E.
  In additiorç regardless of whether or not the contracts in issue expressly state that NBR&A
  is required to pay for an accounting, the Accounting Award concludes that NBR&A
  agreed to, but did not provide the accounting.3 (p. 5).

          Further, even if we assume you are correct that Willick's S 17200 cause of action can
  be read as a statutory claim for unpaid wages and the award is due in some part to such
  allegations, this would not bring the Accounting Award within coverage. We remind you
  that the Policy includes an Endorsement captioned "FLSA Wage and Hour Exclusion,"
  which expressly excludes from coverage all Loss (defined to include Claim Expenses)
  based upon, arising out ol or in any way involving, violations of any law concerning wage
  and hour practices. Specifically, this Endorsement provides that the General Terms and
  Conditions of the Policy shall include as Section XVII - Exclusions, the following
  (underscoring added):

  3[t is not clear whether the Arbitrator is referring to a pre-litigation agreement or offers made after the law
  suit was commenced. With respect to the latter, Evanston further reserves its rights to deny coverage for
  violation of the Policy's Defense, Settlement and Cooperation Clause, which provides: "The Insureds agree
  not to settle or offer to settle any Claim, incur any Claim Expenses or otherwise assume any contractual
  obligation ... without the Insurer's written consent, which shall not be unreasonably withheld." (GTC S
  IV.A.3.a).


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                                                                         Andrew Dressel, Esq.
                                                                     Markel File No. ML27395'1,
                                                                               January 3L,2018
                                                                                          Page 6

         The Insurer shall not be liable under any purchased Coverage Part to pay
         any Loss on account of and shall not be obligated to defend, any Claim
         made against any Insured:

         based upon. arising out of, or in an]¡ way involving any Wrongful Act or
         Interrelated Wrongful Acts that violate(s) or is(are) alleged to violate the
         Fair Labor Standards AcÇ any amendment thereto or an)¡ similar or
         related federal or state statue law. le- ordinance or reqrrlation or ânv
         other law concerning wage and hour practices including but not limited to
         any Claim for off-the-clock work, failure to provide rest or meal periods,
         failure to reimburse expenses, improper classification of employees as
         exempt or non-exempt, failure to timel]¡ pay wages, conversions, unjust
         enrichmenf or unfair business practices whether or not associated with
         any Claim for any actual or alleged Wrongful Employment Practice;

         but this exclusion shall not apply to any Claim for any actual or alleged
         retaliatory treatment of the claimant by the Insured on account of the
         claimanf s exercise of rights pursuant to the Fair Labor Standards Act, any
         amendment thereto or any similar or related federal or state statute,law,
         rule, ordinance or regulation or for any other actual or alleged violation of
         any whistleblower statute or law.

          As plain on the face of this Endorsement, to the extent thaf as you assert the
  Accounting Award and shifting of costs relates to a statutory claim for unpaid wages, then
  it is excluded from coverage. This is not changed by the wording added to the Accounting
  Award at Mr. Napoli's request. For avoidance of doubt, we also note that it is our
  understanding based on all available information that Willick is not alleging any
  retaliatory treatment of him by * Insured within the exception of the last paragraph of $
  XVru quoted above.

         Your "sixth" argument (and in conclusory fashion, Mr. Badala's January 31 letter)
  asserts that the cost of the accounting is a "Claim Expense" as defined by the Policy
  because the cause of action under 517200 is a statutory claim for unpaid wages and "the
  accounting relates to that claim." As noted above, if and to the extent that the g 17200
  cause of action is a statutory claim for unpaid wages, it is excluded from coverage under
  the Policy. Moreover, on its face, the Policy does not provide coverage for " all costs" that
  in a.y way "relate" to a Claim as you assert. Rather, the Policy expressly defines covered
  Claim Expenses to mean amounts "incurred ... in the defense or appeal of that portion of
  any Claim for which coverage is afforded under this Policy." Here, for the reasons
  discussed above, the cost of the accounting is not in connection with a Claim for which
  coverage is afforded under the Policy.


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                                                                         Andrew Dressel, Esq.
                                                                     Markel File No. ML27395-1,
                                                                               january 3'1,,2018
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          The cost of the accounting is further independentþ barred from the EPL Coverage
  Part pursuant to Exclusion III.I.1., which excludes from coverage any Loss "if such Loss
  constitutes: ... any amount incurred by the Insureds to comply with any injunctive or
  other non-monetary relief." In this regard, as you know, a cause of action for an
  accounting is an independent equitable cause of action based on a plaintiffs' legal right to
  determine the amount of money, tÍ any, that is due such plaintiff. See, e.g., Teselle a.
  McLoughlin,lT3 Cal. App. 4rh156,180 (2009) ("[T]he purpose of the accounting is, in part,
  to discover what rl arry, sums are owed to the plaintiff, and an accounting may be used as
  a discovery device." (citations omitted)); Prøknshpalana. Engstrom,223 Cal. App. 4th L105,
  1136-37 (2014) ("An accounting is an equitable proceeding which is proper where there is
  an unliquidated and unascertained amount owing that cannot be determined without an
  examination of the debits and credits on the books to determine what is due and owing."
  (citations omitted)). This is also supported by the Arbitrator's analysis in this case in his
  "Ruling Re Defendants Motion to Dismiss Plaintiffs Accounting Claim" dated October 5,
  2017. In sum, on its face, the Accounting Award is an award in Willick's favor, as a
  prevailing party on his cause of action for an accounting, and grants to Willick the
  accounting as equitable, injunctive, non-monetary relief. Thus, the costs of the accounting
  that will be incurred to comply with the Accounting Award are clearly barred from
  coverage pursuant to Exclusion III.I.1,.

                                           Conclusion

         For all of the foregoing reasons, and for the additional reasons set forth in our prior
  correspondence on this matter, Evanston has concluded that that the costs associated with
  the accounting, as imposed on NBR&A pursuant to the Accounting Award as signed on
  January 27,2018, are not covered Loss under the Pohcy. For avoidance of doubt, we note
  that while Evanston will continue to provide a fulldefense to Willick's action subject to its
  ongoing reservation of all rights, remedies and defenses to coverage under the Policy and
  applicable law or in equity, all fees and costs incurred in order to comply with the
  Accounting Award are excluded from coverage.

           Should you believe that Evanston has misconstrued the circumstances of this
  matter, or should you have any other information that you believe may impact Evanstorls
  coverage determinatiorç please promptly direct such information to the attention of the
  undersigned so that Evanston can address such circumstances or information. We remind
  you that the Insureds have a continuing duty to cooperate with Evanston pursuant to the
  cooperation clause of the Policy (GTC S IV. B.) and the general duties owed by an Insured
  to its Insurer.

        \¡Vhile we hope that you  would contact us if you have any questions or concerns
  regarding the above, if you believe that Evanston has wrongfully denied or rejected a


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                                                                       Andrew Dressel, Esq.
                                                                   Markel File No. ML273951.
                                                                             January 3'1,,2018
                                                                                       Page 8

   claim in whole or in parÇ you may ask the California Department of Insurance (the
   "Departmenf') to review this matter. The Department may be contacted at Claims
   Services Bureau, 11th Floor,300 S. Spring St., Los Angeles, CA 90013,1,-800-927-4357,
   www.insurance.ca -sov-

                                           Very trulv


                                           /.*
                                           Evan Shapiro

  cc:    Shekar Adiga,   Esq.(sadiga@Markelcor          )
         SalvatoreBadala,Esq.(sbadala@napolilaw             )
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